                       Case 3:20-cr-00321-EMC Document 167 Filed 05/17/22 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant
                                                                                            I SEALED BY ORDER OF THE COURT

                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Northern District of California

                  United States of America
                             V.                                           )
                                                                          )        CaseNo.        CR20-321EMC
                          Joshua Clark                                    )
                                                                          )
                                                                          )
                                                                          )
                            Defendant                                                                                                              0

                                                       ARREST WARRANT                                               MAY 17 2022            I       J
To:        Any authorized law enforcement officer                                      CLERK, U.S. DISTRICT C
                                                                                     NORTH DISTRICT OF CA IFOHNIA
           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnece
(name of person to be arrested)      Joshua Clark
who is accused of an offense or violation based on the following document filed with the court:

� Indictment             0 Superseding Indictment             0 Information           0 Superseding Information             O Complaint
0 Probation Violation Petition              0 Supervised Release Violation Petition              0 ViolationNotice          O Order of the Court

This offense is briefly described as follows:
  18    U.S.C. § 286 - Conspiracy to Defraud the United States;
  18    U.S.C. §§ 287 and 2 - False Claims;
  18    U.S.C. §§ 1343 and 2 -Wire Fraud;
  18    U.S.C. §§ 1956(a)(2)(A) and 2 - Laundering Monetary Instruments;
  18    U.S.C. §§ 1957 and 2 - Money Laundering; and
  18    U.S.C. §§ 981(a)(1)(C), 982(a)(1 ), and 28 U.S.C. § 2461(c) - Criminal Forfeiture



Date:      August 11, 2020                                                           �- IJ�· f' --
                                                                                                 Issuing ojjicer 's signature


City and state:       San Francisco, California                                    Thomas S. Hixson, United States Magistrate Jud�
                                                                                                   Printed name and title


                                                                     Return

           This warrant was received on (date) -       f-- )'2 - 7,.:)
                                                        ---              -    , and the person was arrested on (date)
at (city and state) �f1t"1 f't/'(1J e/S:e .)I cJ.)r-


Date:
                                                                                                Arresting officer's signature
